Case 1:17-cv-05228-NGG-VMS Document 72 Filed 10/27/17 Page 1 of 2 PagelD #: 3701

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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NOTICE OF MOTION
Aaron R. Goldstein TO ADMIT COUNSEL
PRO HAC VICE
1:17-cv-05228 @
X

TO: Opposing Counsel
U.S. Department of Justice

950 Pennsylvania Avenue, NW, Washington, D.C. 20530-0001

PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this motion
and the Certificate(s) of Good Standing annexed thereto, we will move this Court pursuant to
Rule 1.3(c) of the Local Rules of the United States District Courts for the Southern and Eastern
Districts of New York for an Order allowing the admission of movant, a member of the firm of

Delaware Department of Justice and a member in good standing of the bar(s) of the State(s)

of Delaware , as attorney pro hac vice to argue or try this case

in whole or in part as counsel for Plaintiff/Defendant State of Delaware

There are no pending disciplinary proceedings against me in any State or Federal court. (If there
are any disciplinary proceedings, describe them.)

Respectfully submitted,

Dated: 10/27/2017

Signature of Movant
Firm Name Delaware Department of Justice

Address 820 North French Street, 6th Floor
Wilmington, DE 19801

Emai] aaron.goldstein@state.de.us
Phone (302) 577-8400

Case 1:17-cv-05228-NGG-VMS Document 72 Filed 10/27/17 Page 2 of 2 PagelD #: 3702

SUPREME COURT OF THE STATE OF DELAWARE

CERTIFICATE OF GOOD STANDING

The Clerk of the Supreme Court of the State of
Delaware, the highest Court in the State, certifies that Aaron
R. Goldstein, was admitted to practice as an attorney in the
Courts of this State on December 10, 1998 and is an active
member of the Bar of the Supreme Court of the State of

Delaware in good standing.

IN TESTIMONY WHEREOF,

| have hereunto set my hand and
affixed the seal of said Court at Dover
this 5TH day of October 2017.

Lisa A. Dolph
Clerk of the Supreme Court

